  Case 2:07-md-01873-KDE-MBN Document 13201-6 Filed 04/06/10 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: FEMA                                                MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                               SECTION “N-5"

                                                           JUDGE ENGELHARDT

                                                           MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Charlene McBroom v American Camper
Manufacturing, LLC d/b/a Ameri-Camp, et al,
Case No. 2:10-cv-270

______________________________________________________________________________

                            NOTICE OF HEARING
______________________________________________________________________________

       IT IS HEREBY ORDERED that Plaintiffs’ Motion to Extend Time to Serve Defendant,

is hereby set for hearing on the 21st day of April, 2010, at 9:30 am.

       Respectfully submitted,



                                                    By:    s / Rose M. Hurder
                                                           Rose M. Hurder

OF COUNSEL:

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  Case 2:07-md-01873-KDE-MBN Document 13201-6 Filed 04/06/10 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on April 6, 2010 I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record who are CM/ECF participants. I further certify that I mailed the foregoing document and

the notice of electronic filing by first class mail to all counsel of record who are non-CM/ECF

participants.



                                                              s / Rose M. Hurder
                                                             ROSE M. HURDER




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